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                                                                    FILED: May 19, 2023

                           UNITED STATES COURT OF APPEALS
                               FOR THE FOURTH CIRCUIT

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                                         No. 22-4163 (L)
                                     (3:19-cr-00781-MGL-1)
                                     ___________________

        UNITED STATES OF AMERICA

                     Plaintiff - Appellee

        v.

        TERRENCE VERNON DUNLAP

                     Defendant - Appellant

                                     ___________________

                                          ORDER
                                     ___________________

              The court suspends the briefing schedule pending further order of the court.

                                              For the Court--By Direction

                                              /s/ Patricia S. Connor, Clerk
